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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                      Plaintiff,              )
                                              )
       vs.                                    )                 8:08CR476
                                              )
EMMANUEL JACKSON,                             )                   ORDER
                                              )
                      Defendant.              )



      This matter is before the court on the defendant's motion to continue trial (Doc. 91).
A 60-day continuance is requested because the government has not completed Rule 16
discovery and defense counsel "has a court conflict with previously scheduled trial in the
Douglas County District Court." The court finds that a continuance to September 15, 2009
should be granted.

       IT IS ORDERED that the motion is granted, in part, as follows:

       1.    The jury trial now set for August 11, 2009 is continued to September 15, 2009.

        2. In accordance with 18 U.S.C. § 3161(h)(8)(A), the court finds that the ends of
justice will be served by granting this continuance and outweigh the interests of the public
and the defendant in a speedy trial. Any additional time arising as a result of the granting
of this motion, that is, the time between August 11, 2009 and September 15, 2009, shall
be deemed excludable time in any computation of time under the requirement of the
Speedy Trial Act because counsel require additional time to adequately prepare the case,
taking into consideration due diligence of counsel and the novelty and complexity of this
case. The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C.
§ 3161(h)(8)(A) & (B)(iv).

       3. The defendant shall file an affidavit or declaration regarding speedy trial, as
required by NECrimR 12.1 and/or 12.3, no later than August 5, 2009.

       DATED July 30, 2009.

                                           BY THE COURT:

                                           s/ F.A. Gossett
                                           United States Magistrate Judge
